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 Attorneys for Plaintiffs
 MICHAEL DAVID BRUSER and LYNN BRUSER,
 Trustees under that certain unrecorded Revocable
 Living Trust Agreement dated July 11, 1988, as amended,
 doing business as Discovery Bay Center


                          IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF HAWAII

 MICHAEL DAVID BRUSER and LYNN                 )     CIVIL NO.: __________________
 BRUSER, Trustees under that certain           )
 unrecorded Revocable Living Trust             )
 Agreement dated July 11, 1988, as amended,    )     COMPLAINT FOR DECLARATORY
 doing business as Discovery Bay Center,       )     JUDGMENT; EXHIBITS 1 – 5;
                                               )     DEMAND FOR JURY TRIAL
                       Plaintiffs,             )
                                               )
               vs.                             )
                                               )
 BANK OF HAWAII, a Hawaii corporation, as      )
 Trustee, as successor by merger with          )
 Hawaiian Trust Company, Limited, a former     )
 Hawaii corporation and as successor           )
 Trustee under that certain Trust Agreement    )
 dated June 6, 1974,                           )
                                               )
                       Defendant.              )
                                               )
                                               )
 ___________________________________           )
                                               )
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                         COMPLAINT FOR DECLARATORY JUDGMENT

        COME NOW Plaintiffs MICHAEL DAVID BRUSER and LYNN BRUSER ("Brusers"),

 Trustees under that certain unrecorded Revocable Living Trust Agreement dated July 11, 1988,

 as amended, doing business as Discovery Bay Center, and for their Complaint against

 Defendants BANK OF HAWAII ("BOH"), a Hawaii corporation, as Trustee, as successor by

 merger with Hawaiian Trust Company, Limited, a former Hawaii corporation and as successor

 Trustee under that certain Trust Agreement dated June 6, 1974, allege and aver as follows:

                                  Federal Jurisdiction and Venue

        1.      Jurisdiction is conferred upon this United States District Court pursuant to

 Section 1332(a)(1) of Title 28 of the United States Code (diversity of citizenship), and pursuant

 to Section 2201 of Title 28 of the United States Code (declaratory judgment), the amount in

 controversy being in excess of $75,000 over the term of the disputed Trustee's fees and costs,

 exclusive of interest and court costs.

        2.      Venue is proper in this District pursuant to Section 1391(a)(2) (where disputed

 events occurred and where property is situated) and Section 1391(a)(3) (where a Defendant is

 found) of Title 28 of the United States Code.

        3.      An actual controversy exists between the parties with respect to their respective

 rights, as hereinbelow set forth, requiring adjudication.

                                             The Parties

        4.      The Brusers were, at all times material hereto, husband and wife and are

 residents of the State of California, and since 1984 have been the owners of the

 Commercial Unit ("subject property") at the Discovery Bay condominium project in Waikiki on

 the Island of Oahu ("Discovery Bay"), doing business as Discovery Bay Center, consisting of an

 undivided interest of 7.4173 percent of same, holding title to the subject property since 1984,



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 and since 1988 as Trustees under that certain unrecorded Revocable Living Trust Agreement

 dated July 11, 1988, as amended.

        5.      BOH was, at all times material hereto, and now is, a financial institution and

 corporation duly organized under the laws of the State of Hawaii, as successor by merger since

 1981 with Hawaiian Trust Company, Limited, a former Hawaii corporation, and as successor

 Trustee since 1981 under that certain Trust Agreement dated June 6, 1974.

                                              The Dispute

        6.      On or about December 11, 1984, the Brusers purchased the subject property

 from 1778 Ala Moana Properties, Inc., a Hawaii corporation, by "Apartment Deed," a true and

 correct copy of which is set forth as Exhibit 1 attached hereto and its terms and conditions

 incorporated herein by this reference.

        7.      Pursuant to said Apartment Deed, its page three, the Brusers, inter alia, agreed

 to the following financial obligations and undertakings:

                THAT the Grantees-Assignees will, from and after the date hereof,
                pay all rents payable under the Ground Conveyance as set forth in
                the Condominium Conveyance Document when the same become
                due and payable, will pay all other costs, expenses, assessments
                and charges payable by the apartment owner as set forth in the
                Condominium Conveyance Document. . . .

        8.      The Brusers' purchase of the subject property in 1984 was made by them in

 direct reliance upon the history of the financial obligations as disclosed to them which had been

 paid by their predecessor-in-interest and which were then being billed to the subject property,

 and the Brusers thereafter, for the first ten years of their ownership of the subject property, paid

 all monthly rents, costs, expenses, assessments, and charges required and demanded of them

 in a timely manner, and continue to do so.

        9.      In or about February 1994, however, Hawaiian Trust Company, Limited, which

 had become a subsidiary of BOH, as Trustee for the ground lessors of Discovery Bay,

 demanded in writing of them an additional, never before charged, monthly fee of


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 $500 (plus Hawaii State General Excise Tax) as a "reasonable fee" for its efforts on behalf of its

 beneficiaries, the ground lessors, for its supervisory role in collecting ground rents and pursuing

 ground rent delinquencies for the entire Discovery Bay.

        10.     The Brusers responded in writing by questioning the extent of the assessment.

 its validity, and the reasonableness of the "Trustee's Fees" as additional monthly charges

 assessed against the subject property, and demanded a proper explanation and accounting

 from BOH, which to this day have never been provided to the Brusers, who nevertheless agreed

 to pay said $500 monthly fee without prejudice, awaiting an explanation and an accounting, and

 said $500 monthly fee was thereafter accepted by BOH specifically "without prejudice" to the

 Brusers' written objections.

        11.     Although not shown and unknown to the Brusers prior to their purchase of the

 subject property, they have subsequently learned that on or about June 6, 1974, a "Trust

 Agreement" was executed by and between (a) fee owners as Settlors of what was to become

 known as Discovery Bay, (b) Hawaiian Trust Company, Limited, BOH's predecessor as Trustee,

 and (c) Mainline-MEPC Properties (Hawaii), Inc., the project's developer as initial Lessee, a true

 and correct copy of which is set forth as Exhibit 2 and its terms and conditions incorporated by

 this reference, which included a provision labeled "Trustee's Fees," at Paragraph 11 on its page

 13:

                The Trustee shall be entitled to such reasonable fees as from time
                to time may be mutually agreed upon. In addition to said
                reasonable fees, the Trustee shall have the right to incur such
                expenses and be reimbursed by the Lessee as provided for by the
                leases; and to incur such expenses and be reimbursed for
                extraordinary services. The Lessee or its assigns will pay the
                Trustee's fee and expenses until December 31, 2039 or the earlier
                termination of this trust.

        12.     Notwithstanding the Trust Agreement, the Brusers had no reason to believe that

 as owners of the subject property it would be claimed that they would be even in any way

 partially responsible for any such "Trustee's Fees," for the following reasons:


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                a.      upon information and belief, prior to February 1984 any and all "Trustee's

 Fees" had been billed to and paid by the ground lessors as the "Settlors" under the Trust

 Agreement aforesaid, and never billed to the owners of the subject property;

                b.      any such work by the Trustee would have been and would now be

 undertaken and accomplished strictly on behalf of, and for the exclusive benefit of, the ground

 lessors solely as the "Settlers" under the Trust Agreement;

                c.      the Association of Apartment Owners, as well as the Brusers for their

 individual Commercial Unit, throughout the history of Discovery Bay, have had, and continue to

 have, their own property managers who have been paid and who are being paid to supervise

 Discovery Bay by them, without any assistance from the Trustee; and

                d.      when delinquencies in ground lease payments have arisen, or when other

 matters have arisen requiring Trustee involvement in the affairs of Discovery Bay, those extra

 charges have been separately assessed by the Trustee and separately paid to the Trustee

 when and as required, and not as a part of any monthly supervision fee.

        13.     Not only was said "Trust. Agreement" and its Paragraph 11 never before then

 either shown or known to the Brusers; the Brusers would have had no reason to believe that as

 owners of the subject property it would be claimed that they would be entirely responsible for

 any such "Trustee's Fees," for the following reasons:

                a.      Discovery Bay's "Declaration of Horizontal Property Regime," a true and

 correct copy of which is set forth as Exhibit 3, its terms and conditions incorporated herein by

 this reference, makes no mention whatsoever of any such additional "Trustee's Fees" for any

 one apartment owner, clearly stating that the Commercial Unit in Discovery Bay is to be

 responsible for only its undivided 7.4173% interest, including presumably for its financial

 obligations as well, on page 4 of the Declaration's Exhibit B;

                b.      similarly, the "By-Laws of the Association of Apartment Owners of

 Discovery Bay," a true and correct copy of which is set forth as Exhibit 4, its terms and

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 conditions incorporated herein by this reference, not only makes no mention whatsoever of any

 such additional "Trustee's Fees" for any one apartment owner, but for example expressly

 provides in Section 6 on its pages 22-23 that:

                all charges, costs and expenses incurred by the Association for
                and in connection with the operation, maintenance, repair,
                replacement and restoration of the common elements shall first be
                allocated between the Commercial Unit and the residential units
                as a whole in proportion to their common interests . . . .

                c.      the original Commercial Unit "Condominium Conveyance Document"

 dated December 1, 1976, a true and correct copy of which is set forth as Exhibit 5, its terms and

 conditions incorporated herein by this reference, which similarly was neither seen nor disclosed

 to the Brusers upon their purchase of the subject property, while in its Paragraph 12 does make

 mention of the owner of the Commercial Unit being responsible for "all fees and expenses

 charged or incurred by the Lessor as Trustee under the terms of said Trust Agreement dated

 June 16 [sic], 1974, as amended, as the same become due or are incurred," that June 6, 1974,

 Trust Agreement set forth in Exhibit 2 hereto, Paragraph 11 on its page 13, quoted verbatim

 supra, states instead that "the Lessee [the original developer] or its assignees [which consists

 of the Commercial Unit owner and the individual owners of all 665 residential apartment owners]

 will pay the Trustee's fee and expenses [emphasis and bracketed material added)]," not just the

 owner of the Commercial Unit, which is only one of 666 units at Discovery Bay comprising itself

 merely an undivided 7.4173 percent property interest - having therefore, if anything, only a

 partial and relatively minuscule responsible for the supervision efforts, if any, of the Trustee, if

 there is any such reimbursement responsibility for anyone under the circumstances herein

 described.

        14.     Nevertheless, commencing on or about January 1, 1999, BOH unilaterally, again

 without even consulting with the Brusers who as "assigns" of the Lessee under said Trust

 Agreement thereby became successor parties thereto, although the Trust Agreement further

 specifies in its Paragraph 11, supra, that any such "Trustee's Fees" are only to be assessed "as

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 from time to time may be mutually agreed upon" between the parties thereto, without such

 advance agreement by the Brusers increased said monthly "Trustee's Fees" from $500 to

 $1,900 (plus Hawaii State General Excise Tax), charged solely to the Brusers despite their

 7.4173 undivided ownership interest as one of 666 assignees of the original Lessee to the Trust

 Agreement, over the Brusers' continual written objection.

        15.     And, commencing on or about January 1, 2000, BOH again unilaterally

 announced that it was increasing said monthly "Trustee's Fees" payable to itself - this time from

 $1,900 to $2,586 (plus Hawaii State General Excise Tax), again over the Brusers' subsequent

 written objection, on the grounds that as Trustee for the ground lessors it is entitled, without

 audit or documentation, to the fixed "reasonable fee" percentage of five percent of all ground

 lease income collected.

        16.     Based on these unilateral actions, Brusers filed a Complaint for Declaratory

 Judgment in the United States District Court for the District of Hawaii, Case #: 1:01-CV-00340-

 DAE-BMK (the “District Court Lawsuit”).

        17.     Subsequent to this filing, BOH and the Brusers entered into a Settlement and

 Release Agreement Dated August 22, 2001, whereby the parties agreed, in part, to a fee of

 $1,100.00 per month to be paid by the Brusers to BOH, and that both parties reserve their

 respective rights in the event that BOH sought to increase this fee. This resolved the District

 Court Lawsuit at that time.

        18.     On January 28, 2014, BOH filed a Petition for Resignation of Trustee,

 Appointment of Successor Trustee, Reformation of Trust and Approval of Trustee’s Accounts

 Covering the Period from January 1l 2008 through December 31, 2013, and this was filed in the

 Circuit Court of the First Circuit, State of Hawaii, T. No. 14-1-0019 (the “Trust Action”).

        19.     In the Trust Action, BOH recently filed a Supplemental Petition on May 9, 2014,

 requesting, among other things, to increase the amount of the fee that it is entitled to and

 thereby exposing the Brusers to an amount that is beyond what the Brusers will agree to, and

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 seriously diminishing the market value of the subject property and any further refinancing,

 marketing, and/or sales efforts by the Brusers to their increasing economic detriment.


                                     Request for Declaratory Relief

        20.     The Brusers reallege and incorporate herein by this reference each and every

 allegation in each and every Paragraph above.

        21.     An actual controversy exists between the Brusers and BOH.

        23.     The Brusers, based upon the aforesaid facts as pled, claim entitlement to a

 declaratory judgment, as follows:

                a.       that the Brusers are not liable for any such alleged "Trustee's Fees"

 whatsoever, for each of the following reasons:

                         (1)   Paragraph 11 of the June 6,1974, Trust Agreement is

 unenforceable as its terms are indefinite and uncertain, an agreement to "mutually agree" upon

 fees being unenforceable under the laws of the State of Hawaii:

                         (2)   being assignees of an original party to the June 6, 1974, Trust

 Agreement, the "Lessor," the Brusers are successor parties to that Trust Agreement pursuant to

 their December 11, 1984, Apartment Deed assigning same to them, or at the very least are

 third-party beneficiaries of same with equitable rights of approval thereof, and since they have

 not mutually agreed to said ''Trustee's Fees," they are not responsible for same even if its terms

 are found not to be so indefinite or so uncertain as a matter of law as to preclude enforcement

 thereof against them;

                         (3)   Paragraph 11 of the June 6, 1974, Trust Agreement, and the

 terms and conditions of the Brusers' December 11, 1984, Apartment Deed, and Paragraph 12 of

 the December 1, 1976, Condominium Conveyance Document aforesaid, are each and all vague

 and ambiguous as to the respective obligations of those who became subsequent lessees with

 respect to any such "Trustee's Fees," the meaning of which should be construed against their

 drafters which were not the Brusers, and the conduct of the Trustee in not having charged or
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 even attempted to have charged "Trustee's Fees" to the owner of the Commercial Unit for the

 first full twenty years of the existence of Discovery Bay itself resolves that vagueness and

 ambiguity in favor of the Brusers and mandates the absence of any liability on their part

 whatsoever for those "Trustee's Fees" BOH now seeks to impose unilaterally and singularly

 upon them as an afterthought for its alleged supervision of the entire Discovery Bay, due in part

 to BOH's own in-house financial issues;

                       (4)      by not having invoiced, charged, or seeking to enforce said

 "Trustee's Fees" upon the subject property for the first twenty plus years of the existence of

 Discovery Bay, any such claim to reimbursement for such "Trustee's Fees" has been waived by

 the Trustee and the Settlers aforesaid; and

                       (5)      the Trustee is estopped from asserting any such claim to any such

 "Trustee's Fees" against the Brusers, having failed to disclose same, or in any way to have

 placed the Brusers on notice of same, at the time the Brusers purchased the subject property in

 1984 when ten years before and ten years thereafter no such disclosure or demand was made

 by the Trustee as aforesaid.

                b.     that if the Brusers are found to be liable for any such alleged "Trustee's

 Fees," their liability for same is not 100%, but would be no more than the actual percentage of

 their undivided interest in Discovery Bay;

                c.     that if the Brusers are found to be liable for any such alleged "Trustee's

 Fees," they would only be liable in whatever percentage, if any, for only such "Trustee's Fees"

 as may be found to be "reasonable" according to proof at trial and not for what BOH unilaterally

 decides to assess them for;

                d.     that if the Brusers are found to be liable for any such alleged "Trustee's

 Fees" in whatever percentage amount, if any, the amount claimed by BOH is not and has not

 been reasonable;



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                 e.      that if the Brusers are found to be liable for any such alleged "Trustee's

  Fees/' they are entitled to an Order of this Court requiring that BOH provide them forthwith with

  a full and complete fiduciary accounting of all such claimed "reasonable" fees and

  expenses as a condition precedent to any such payment by them, including verification that

  similar "Trustee's Fees" have been and are being charged by BOH and not being waived or

  ignored for the alleged supervision of any similar projects in the State of Hawaii; and

                 f.      that the Brusers are entitled to an award of their attorney's fees and full

  costs of suit against BOH, for having had to bring this action for declaratory relief to protect their

  rights and property under the circumstances.

         E.      a full and complete accounting from BOH of all claimed "reasonable" fees and

  expenses alleged by BOH as justifying such "Trustee's Fees," including verification that similar

  "Trustee's Fees" have been and are being charged by BOH and not being waived or ignored by

  BOH for the alleged supervision of any similar projects in the State of Hawaii;

         F.      an award to the Brusers of their attorney's fees and full costs of suit against BOH,

  for having had to bring this action for declaratory relief to protect their rights and property under

  the circumstances; and

         H.      and for such other and further relief as this Court deems just and proper.

         DATED: Honolulu, Hawaii, August 29, 2014.



                                                         ____/s/ Christian P. Porter_____________
                                                         CHRISTIAN P. PORTER
                                                         BRYSON R. CHOW

                                                         GARY VICTOR DUBIN
                                                         FREDERIC J. ARENSMEYER
                                                         Attorneys for Plaintiffs
                                                         MICHAEL DAVID BRUSER and
                                                         LYNN BRUSER, Trustees under that certain
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                                                         doing business as Discovery Bay Center


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